                                       Case 14-26409-JNP                       Doc 1Filed 08/08/14 Entered 08/08/14 15:30:17 Desc Main
                             B1 (Official Form 1) (04/13)                           Document Page 1 of 36
                                                                   United States Bankruptcy Court
                                                                        District of New Jersey                             Voluntary Petition
                              Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                              Tucci, Mark R.                                                                          Tucci, Mary Anne P.
                              All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                              (include married, maiden, and trade names):                                             (include married, maiden, and trade names):



                              Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                              (if more than one, state all):     0592                                                 (if more than one, state all):     9536
                              Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                              102 Summit Ave                                                                          102 Summit Ave
                              Laurel Springs, NJ                                                                      Laurel Springs, NJ
                                                                                    ZIPCODE 08021-2151                                                                       ZIPCODE 08021-2151
                              County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                              Camden                                                                                  Camden
                              Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                     ZIPCODE                                                                                         ZIPCODE
                              Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                     ZIPCODE
                                                 Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                             (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
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                                Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                           Other                                                                      (Check one box.)
                                              Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
                              Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
                              __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                              Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                              regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                              __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                  Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                     Check one box:
                                Full Filing Fee attached
                                                                                                       Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                       Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                Filing Fee to be paid in installments (Applicable to individuals
                                only). Must attach signed application for the court’s                Check if:
                                consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                       ----------------------------------------------------------------
                                Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                       accordance with 11 U.S.C. § 1126(b).
                              Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                 Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                 Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                 distribution to unsecured creditors.
                             Estimated Number of Creditors

                             1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                5,000          10,000           25,000              50,000              100,000           100,000
                             Estimated Assets

                             $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                             $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                             Estimated Liabilities

                             $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                             $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                          Case 14-26409-JNP               Doc 1        Filed 08/08/14 Entered 08/08/14 15:30:17                                      Desc Main
                             B1 (Official Form 1) (04/13)                              Document Page 2 of 36                                                                        Page 2
                             Voluntary Petition                                                              Name of Debtor(s):
                              (This page must be completed and filed in every case)                          Tucci, Mark R. & Tucci, Mary Anne P.

                                                   All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                              Location                                                                       Case Number:                              Date Filed:
                              Where Filed:See Schedule Attached
                              Location                                                                       Case Number:                              Date Filed:
                              Where Filed:
                                 Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                              Name of Debtor:                                                                Case Number:                              Date Filed:
                              None
                              District:                                                                      Relationship:                             Judge:


                                                             Exhibit A                                                                            Exhibit B
                              (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                              10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                              Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                              requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                             chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                  Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                             that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).


                                                                                                             X   /s/ Rex J. Roldan, Esquire                                     8/07/14
                                                                                                                 Signature of Attorney for Debtor(s)                                 Date

                                                                                                     Exhibit C
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                              Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                              or safety?
                                  Yes, and Exhibit C is attached and made a part of this petition.
                                  No

                                                                                                     Exhibit D
                              (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                      Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                              If this is a joint petition:
                                        Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                Information Regarding the Debtor - Venue
                                                                                            (Check any applicable box.)
                                      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                      There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                      or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                      in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                            Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                        (Check all applicable boxes.)
                                      Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                    (Name of landlord that obtained judgment)

                                                                                                (Address of landlord)
                                      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                      the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                      filing of the petition.
                                      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                         Case 14-26409-JNP                       Doc 1       Filed 08/08/14 Entered 08/08/14 15:30:17                                              Desc Main
                             B1 (Official Form 1) (04/13)                                    Document Page 3 of 36                                                                                          Page 3
                             Voluntary Petition                                                                     Name of Debtor(s):
                              (This page must be completed and filed in every case)                                 Tucci, Mark R. & Tucci, Mary Anne P.

                                                                                                              Signatures
                                             Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                              I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                              petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                              [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                              and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                              under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                         I request relief in accordance with chapter 15 of title 11, United
                              the relief available under each such chapter, and choose to proceed under
                                                                                                                         States Code. Certified copies of the documents required by 11 U.S.C.
                              chapter 7.
                                                                                                                         § 1515 are attached.
                              [If no attorney represents me and no bankruptcy petition preparer signs
                              the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                              342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                              I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                              Code, specified in this petition.
                                                                                                                    X
                              X   /s/ Mark R. Tucci                                                                      Signature of Foreign Representative
                                  Signature of Debtor                                        Mark R. Tucci
                              X   /s/ Mary Anne P. Tucci                                                                 Printed Name of Foreign Representative
                                  Signature of Joint Debtor                           Mary Anne P. Tucci
                                                                                                                         Date
                                  Telephone Number (If not represented by attorney)

                                  August 7, 2014
                                  Date

                                                              Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                    I declare under penalty of perjury that: 1) I am a bankruptcy petition
                              X
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                                  /s/ Rex J. Roldan, Esquire                                                        preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                  Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                    and the notices and information required under 11 U.S.C. §§ 110(b),
                                  Rex J. Roldan, Esquire (RR7961)                                                   110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                  Law Offices of Rex J. Roldan, P.C.                                                pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                  900 Route 168, Suite I-4                                                          chargeable by bankruptcy petition preparers, I have given the debtor
                                  Turnersville, NJ 08012                                                            notice of the maximum amount before preparing any document for filing
                                  (856) 232-1425 Fax: (856) 232-1025                                                for a debtor or accepting any fee from the debtor, as required in that
                                  roldanlaw@comcast.net                                                             section. Official Form 19 is attached.

                                                                                                                    Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                    Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                    Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                    bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                  August 7, 2014
                                  Date
                              *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                              certification that the attorney has no knowledge after an inquiry that the
                              information in the schedules is incorrect.

                                          Signature of Debtor (Corporation/Partnership)
                              I declare under penalty of perjury that the information provided in this              X
                              petition is true and correct, and that I have been authorized to file this                 Signature
                              petition on behalf of the debtor.
                                                                                                                         Date
                              The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                              United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                    Names and Social-Security numbers of all other individuals who prepared or
                              X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                  Signature of Authorized Individual                                                not an individual:

                                                                                                                    If more than one person prepared this document, attach additional sheets
                                  Printed Name of Authorized Individual
                                                                                                                    conforming to the appropriate official form for each person.
                                                                                                                    A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                  Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                    imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                  Date
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                                                                                Document Page 4 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                            Case No.
                                                                         Debtor(s)

                                                                                 VOLUNTARY PETITION
                                                                                Continuation Sheet - Page 1 of 1

                             Prior Bankruptcy Case Filed Within Last 8 Years:
                              Location Where Filed: District Of New Jersey
                              Case Number: 09-35472 (GMB)
                              Date Filed: September 28, 2009
                              Location Where Filed: District Of New Jersey
                              Case Number: 10-31492 (GMB)
                              Date Filed: July 14, 2010
                              Location Where Filed: District Of New Jersey
                              Case Number: 12-31949 (GMB)
                              Date Filed: September 4, 2012
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                                       Case 14-26409-JNP                Doc 1        Filed 08/08/14 Entered 08/08/14 15:30:17                     Desc Main
                             B1D (Official Form 1, Exhibit D) (12/09)                Document Page 5 of 36
                                                                                United States Bankruptcy Court
                                                                                     District of New Jersey

                             IN RE:                                                                                           Case No.
                             Tucci, Mark R.                                                                                   Chapter 13
                                                                         Debtor(s)

                                                      EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                    CREDIT COUNSELING REQUIREMENT
                             Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                             do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                             whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                             and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                             to stop creditors’ collection activities.
                             Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                             one of the five statements below and attach any documents as directed.
                                1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                             the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                             performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                             certificate and a copy of any debt repayment plan developed through the agency.
                                2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                             the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                             performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                             a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                             the agency no later than 14 days after your bankruptcy case is filed.
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                                3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                             days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                             requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                             If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                             you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                             of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                             case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                             also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                             counseling briefing.
                               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                             motion for determination by the court.]
                                    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                    of realizing and making rational decisions with respect to financial responsibilities.);
                                    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                    participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                    Active military duty in a military combat zone.
                                5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                             does not apply in this district.
                             I certify under penalty of perjury that the information provided above is true and correct.


                             Signature of Debtor: /s/ Mark R. Tucci
                             Date: August 7, 2014
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                             B1D (Official Form 1, Exhibit D) (12/09)                Document Page 6 of 36
                                                                                United States Bankruptcy Court
                                                                                     District of New Jersey

                             IN RE:                                                                                           Case No.
                             Tucci, Mary Anne P.                                                                              Chapter 13
                                                                         Debtor(s)

                                                      EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                    CREDIT COUNSELING REQUIREMENT
                             Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                             do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                             whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                             and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                             to stop creditors’ collection activities.
                             Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                             one of the five statements below and attach any documents as directed.
                                1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                             the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                             performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                             certificate and a copy of any debt repayment plan developed through the agency.
                                2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                             the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                             performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                             a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                             the agency no later than 14 days after your bankruptcy case is filed.
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                                3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                             days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                             requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                             If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                             you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                             of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                             case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                             also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                             counseling briefing.
                               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                             motion for determination by the court.]
                                    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                    of realizing and making rational decisions with respect to financial responsibilities.);
                                    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                    participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                    Active military duty in a military combat zone.
                                5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                             does not apply in this district.
                             I certify under penalty of perjury that the information provided above is true and correct.


                             Signature of Debtor: /s/ Mary Anne P. Tucci
                             Date: August 7, 2014
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                             FB 201A (Form 201A) (06/14)


                                                                 UNITED STATES BANKRUPTCY COURT

                                                           NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                    OF THE BANKRUPTCY CODE

                                      In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                             Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                             costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                             notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                     You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                             advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                             cannot give you legal advice.

                                      Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                             ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                             court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                             each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                             receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
                             statement with the court requesting that each spouse receive a separate copy of all notices.

                             1. Services Available from Credit Counseling Agencies
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                                     With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                             bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                             credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                             days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                             by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                             United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                             approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                     In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                             management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                             financial management instructional courses. Each debtor in a joint case must complete the course.

                             2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                      Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
                                      Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                             Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                             should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                             residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                             have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                             to decide whether the case should be dismissed.
                                      Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                             right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                             creditors.
                                      The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                             have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
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                             Form B 201A, Notice to Consumer Debtor(s)                                                                                     Page 2

                             discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                      Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                             may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                             and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                             which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                             motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                             from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                             that the debt is not discharged.

                                      Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                             $75 administrative fee: Total fee $310)
                                      Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                             installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                             set forth in the Bankruptcy Code.
                                      Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                             them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                             depending upon your income and other factors. The court must approve your plan before it can take effect.
                                      After completing the payments under your plan, your debts are generally discharged except for domestic support
                             obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                             properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                             secured obligations.

                                      Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
                                      Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
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                             provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                             an attorney.

                                     Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
                                     Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                             future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                             income arises primarily from a family-owned farm or commercial fishing operation.

                             3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                      A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                             perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                             information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                             acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                             employees of the Department of Justice.

                             WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                             your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                             dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                             Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                             B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
                                      Case
                             B201B (Form 201B) 14-26409-JNP
                                               (12/09)                Doc 1         Filed 08/08/14 Entered 08/08/14 15:30:17                      Desc Main
                                                                                    Document Page 9 of 36
                                                                               United States Bankruptcy Court
                                                                                    District of New Jersey

                             IN RE:                                                                                           Case No.
                             Tucci, Mark R. & Tucci, Mary Anne P.                                                             Chapter 13
                                                                        Debtor(s)

                                                            CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                              Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                             I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                             notice, as required by § 342(b) of the Bankruptcy Code.


                             Printed Name and title, if any, of Bankruptcy Petition Preparer                                 Social Security number (If the bankruptcy
                             Address:                                                                                        petition preparer is not an individual, state
                                                                                                                             the Social Security number of the officer,
                                                                                                                             principal, responsible person, or partner of
                                                                                                                             the bankruptcy petition preparer.)
                                                                                                                             (Required by 11 U.S.C. § 110.)
                             X
                             Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                             partner whose Social Security number is provided above.

                                                                                     Certificate of the Debtor
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                             I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                             Tucci, Mark R. & Tucci, Mary Anne P.                                   X /s/ Mark R. Tucci                                         8/07/2014
                             Printed Name(s) of Debtor(s)                                              Signature of Debtor                                           Date


                             Case No. (if known)                                                    X /s/ Mary Anne P. Tucci                                    8/07/2014
                                                                                                       Signature of Joint Debtor (if any)                            Date


                             Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                             Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                             NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                             attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                             page 3 of Form B1 also include this certification.
                                       Case
                             B6A (Official Form 14-26409-JNP
                                                6A) (12/07)                     Doc 1        Filed 08/08/14 Entered 08/08/14 15:30:17                                                          Desc Main
                                                                                             Document Page 10 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                              Case No.
                                                                                        Debtor(s)                                                                                                    (If known)

                                                                                        SCHEDULE A - REAL PROPERTY
                                Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                             property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                             married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                             or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                               Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                             interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                               If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                               CURRENT VALUE OF
                                                                                                                                                                              DEBTOR'S INTEREST IN
                                                                                                                           NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                     DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                          INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                               SECURED CLAIM OR
                                                                                                                                                                                   EXEMPTION



                             Residence                                                                                                                    J                          131,000.00               172,394.91
                             102 Summit Avenue
                             Laurel Springs, NJ 08021
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                                                                                                                                              TOTAL                                  131,000.00
                                                                                                                                                                             (Report also on Summary of Schedules)
                                       Case
                             B6B (Official Form 14-26409-JNP
                                                6B) (12/07)                    Doc 1         Filed 08/08/14 Entered 08/08/14 15:30:17                                        Desc Main
                                                                                             Document Page 11 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                             Case No.
                                                                                        Debtor(s)                                                                                             (If known)

                                                                                   SCHEDULE B - PERSONAL PROPERTY
                                Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                             appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                             and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                             “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                             in Schedule C - Property Claimed as Exempt.

                               Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                               If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                             held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                             not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                      CURRENT VALUE OF
                                                                               N                                                                                                                     DEBTOR'S INTEREST IN
                                                                               O                                                                                                                      PROPERTY WITHOUT
                                            TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                               N                                                                                                                        DEDUCTING ANY
                                                                               E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                          EXEMPTION




                                1. Cash on hand.                               X
                                2. Checking, savings or other financial            Checking account - Susquehanno Bank                                                         W                                 300.00
                                   accounts, certificates of deposit or
                                   shares in banks, savings and loan,
                                   thrift, building and loan, and
                                   homestead associations, or credit
                                   unions, brokerage houses, or
                                   cooperatives.
                                3. Security deposits with public utilities,    X
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                                   telephone companies, landlords, and
                                   others.
                                4. Household goods and furnishings,                Furniture and furnishings                                                                                                   2,000.00
                                   include audio, video, and computer
                                   equipment.
                                5. Books, pictures and other art objects,      X
                                   antiques, stamp, coin, record, tape,
                                   compact disc, and other collections or
                                   collectibles.
                                6. Wearing apparel.                                Clothing                                                                                      J                             2,500.00
                                7. Furs and jewelry.                               Jewelry                                                                                       J                             1,000.00
                                8. Firearms and sports, photographic,          X
                                   and other hobby equipment.
                                9. Interest in insurance policies. Name        X
                                   insurance company of each policy and
                                   itemize surrender or refund value of
                                   each.
                              10. Annuities. Itemize and name each             X
                                  issue.
                              11. Interests in an education IRA as             X
                                  defined in 26 U.S.C. § 530(b)(1) or
                                  under a qualified State tuition plan as
                                  defined in 26 U.S.C. § 529(b)(1).
                                  Give particulars. (File separately the
                                  record(s) of any such interest(s). 11
                                  U.S.C. § 521(c).)
                              12. Interests in IRA, ERISA, Keogh, or           X
                                  other pension or profit sharing plans.
                                  Give particulars.
                              13. Stock and interests in incorporated          X
                                  and unincorporated businesses.
                                  Itemize.
                              14. Interests in partnerships or joint           X
                                  ventures. Itemize.
                                       Case
                             B6B (Official Form 14-26409-JNP
                                                6B) (12/07) - Cont.          Doc 1     Filed 08/08/14 Entered 08/08/14 15:30:17                  Desc Main
                                                                                       Document Page 12 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                               Case No.
                                                                                   Debtor(s)                                                                      (If known)

                                                                                 SCHEDULE B - PERSONAL PROPERTY
                                                                                        (Continuation Sheet)




                                                                                                                                                 HUSBAND, WIFE, JOINT,
                                                                                                                                                    OR COMMUNITY
                                                                                                                                                                          CURRENT VALUE OF
                                                                             N                                                                                           DEBTOR'S INTEREST IN
                                                                             O                                                                                            PROPERTY WITHOUT
                                           TYPE OF PROPERTY                                    DESCRIPTION AND LOCATION OF PROPERTY
                                                                             N                                                                                              DEDUCTING ANY
                                                                             E                                                                                            SECURED CLAIM OR
                                                                                                                                                                              EXEMPTION




                              15. Government and corporate bonds and         X
                                  other negotiable and non-negotiable
                                  instruments.
                              16. Accounts receivable.                       X
                              17. Alimony, maintenance, support, and         X
                                  property settlements in which the
                                  debtor is or may be entitled. Give
                                  particulars.
                              18. Other liquidated debts owed to debtor      X
                                  including tax refunds. Give
                                  particulars.
                              19. Equitable or future interest, life         X
                                  estates, and rights or powers
                                  exercisable for the benefit of the
                                  debtor other than those listed in
                                  Schedule A - Real Property.
                              20. Contingent and noncontingent               X
                                  interests in estate of a decedent, death
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                                  benefit plan, life insurance policy, or
                                  trust.
                              21. Other contingent and unliquidated          X
                                  claims of every nature, including tax
                                  refunds, counterclaims of the debtor,
                                  and rights to setoff claims. Give
                                  estimated value of each.
                              22. Patents, copyrights, and other             X
                                  intellectual property. Give particulars.
                              23. Licenses, franchises, and other            X
                                  general intangibles. Give particulars.
                              24. Customer lists or other compilations       X
                                  containing personally identifiable
                                  information (as defined in 11 U.S.C. §
                                  101(41A)) provided to the debtor by
                                  individuals in connection with
                                  obtaining a product or service from
                                  the debtor primarily for personal,
                                  family, or household purposes.
                              25. Automobiles, trucks, trailers, and         X
                                  other vehicles and accessories.
                              26. Boats, motors, and accessories.            X
                              27. Aircraft and accessories.                  X
                              28. Office equipment, furnishings, and         X
                                  supplies.
                              29. Machinery, fixtures, equipment, and        X
                                  supplies used in business.
                              30. Inventory.                                 X
                              31. Animals.                                   X
                              32. Crops - growing or harvested. Give         X
                                  particulars.
                              33. Farming equipment and implements.          X
                              34. Farm supplies, chemicals, and feed.        X
                                       Case
                             B6B (Official Form 14-26409-JNP
                                                6B) (12/07) - Cont.     Doc 1     Filed 08/08/14 Entered 08/08/14 15:30:17                           Desc Main
                                                                                  Document Page 13 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                          Case No.
                                                                              Debtor(s)                                                                                (If known)

                                                                            SCHEDULE B - PERSONAL PROPERTY
                                                                                   (Continuation Sheet)




                                                                                                                                                      HUSBAND, WIFE, JOINT,
                                                                                                                                                         OR COMMUNITY
                                                                                                                                                                               CURRENT VALUE OF
                                                                        N                                                                                                     DEBTOR'S INTEREST IN
                                                                        O                                                                                                      PROPERTY WITHOUT
                                          TYPE OF PROPERTY                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                        N                                                                                                        DEDUCTING ANY
                                                                        E                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                   EXEMPTION




                              35. Other personal property of any kind   X
                                  not already listed. Itemize.
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                                                                                                                                                TOTAL                                   5,800.00
                                                                                                                           (Include amounts from any continuation sheets attached.
                                     0 continuation sheets attached                                                                   Report total also on Summary of Schedules.)
                                       Case
                             B6C (Official Form 14-26409-JNP
                                                6C) (04/13)                    Doc 1           Filed 08/08/14 Entered 08/08/14 15:30:17                              Desc Main
                                                                                               Document Page 14 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                       Case No.
                                                                                       Debtor(s)                                                                         (If known)

                                                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                             Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                             (Check one box)
                                   11 U.S.C. § 522(b)(2)
                                   11 U.S.C. § 522(b)(3)

                                                                                                                                                                             CURRENT VALUE
                                                                                                                                                    VALUE OF CLAIMED          OF PROPERTY
                                               DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                       EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                              EXEMPTIONS

                             SCHEDULE B - PERSONAL PROPERTY
                             Checking account - Susquehanno Bank                          11 USC § 522(d)(5)                                                    300.00                     300.00
                             Furniture and furnishings                                    11 USC § 522(d)(3)                                                  2,000.00                2,000.00
                             Clothing                                                     11 USC § 522(d)(3)                                                  2,500.00                2,500.00
                             Jewelry                                                      11 USC § 522(d)(4)                                                  1,000.00                1,000.00
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                             * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                       Case
                             B6D (Official Form 14-26409-JNP
                                                6D) (12/07)                     Doc 1                      Filed 08/08/14 Entered 08/08/14 15:30:17                                                                           Desc Main
                                                                                                           Document Page 15 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                 Case No.
                                                                                         Debtor(s)                                                                                                                                    (If known)

                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                             date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                             the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                             security interests.
                               List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                             guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                             will not fit on this page, use the continuation sheet provided.
                               If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                             schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                             on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                             is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                             of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                             if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                             Liabilities and Related Data.

                                 Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                      OR COMMUNITY




                                                                                                                                                                                          UNLIQUIDATED
                                                                                                                                                                             CONTINGENT
                                                                                        CODEBTOR




                                                                                                                                                                                                                       AMOUNT OF




                                                                                                                                                                                                         DISPUTED
                                      CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                      CLAIM WITHOUT
                                                                                                                                                                                                                                               UNSECURED
                                    INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                             DEDUCTING
                                                                                                                                                                                                                                             PORTION, IF ANY
                                               (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                        VALUE OF
                                                                                                                                                                                                                      COLLATERAL
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                             ACCOUNT NO. Lot8                                                           J 2012                                                                                                            17,012.82                17,012.82
                             Borough Of Laurel Springs                                                    real estate taxes
                             Tax Department
                             135 Broadway
                             Laurel Springs, NJ 08021-2006
                                                                                                                           VALUE $ 131,000.00

                             ACCOUNT NO.                                                                                   Assignee or other notification for:
                             US Bank Cust For Crestar Capital                                                              Borough Of Laurel Springs
                             C/O Pellegrino & Feldstein, LLC
                             290 Route 46
                             Denville, NJ 07834-1239
                                                                                                                           VALUE $

                             ACCOUNT NO. 3181                                                           J October, 1998                                                                                                 155,382.09                 24,382.09
                             Select Portfolio Servicing                                                   mortgage on residence
                             PO Box 65450
                             Salt Lake City, UT 84165-0450

                                                                                                                           VALUE $ 131,000.00

                             ACCOUNT NO.                                                                                   Assignee or other notification for:
                             Zucker, Goldberg & Ackerman, LLC                                                              Select Portfolio Servicing
                             PO Box 1024
                             Mountainside, NJ 07092-0024

                                                                                                                           VALUE $
                                                                                                                                                                               Subtotal
                                    0 continuation sheets attached                                                                                                 (Total of this page) $ 172,394.91 $                                             41,394.91
                                                                                                                                                                                  Total
                                                                                                                                                                (Use only on last page) $ 172,394.91 $                                             41,394.91
                                                                                                                                                                                                                    (Report also on         (If applicable, report
                                                                                                                                                                                                                    Summary of              also on Statistical
                                                                                                                                                                                                                    Schedules.)             Summary of Certain
                                                                                                                                                                                                                                            Liabilities and Related
                                                                                                                                                                                                                                            Data.)
                                       Case
                             B6E (Official Form 14-26409-JNP
                                                6E) (04/13)                      Doc 1        Filed 08/08/14 Entered 08/08/14 15:30:17                                           Desc Main
                                                                                              Document Page 16 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                Case No.
                                                                                         Debtor(s)                                                                                   (If known)

                                                        SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                             priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                             number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                             sheet for each type of priority and label each with the type of priority.

                                The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                             If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                             not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                               If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                             schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                             on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                             "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                             may need to place an "X" in more than one of these three columns.)

                               Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                             on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                               Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                             on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                             Statistical Summary of Certain Liabilities and Related Data.

                                Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                             listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
                             the Statistical Summary of Certain Liabilities and Related Data.

                                 Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                             TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
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                                  Domestic Support Obligations
                                  Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                  responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                  U.S.C. § 507(a)(1).
                                  Extensions of credit in an involuntary case
                                  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                  appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                  Wages, salaries, and commissions
                                  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                  independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                  cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                  Contributions to employee benefit plans
                                  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                  cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                  Certain farmers and fishermen
                                  Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                  Deposits by individuals
                                  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                  were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                  Taxes and Certain Other Debts Owed to Governmental Units
                                  Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                  Commitments to Maintain the Capital of an Insured Depository Institution
                                  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                  of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                  Claims for Death or Personal Injury While Debtor Was Intoxicated
                                  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                  a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                    0 continuation sheets attached
                                       Case
                             B6F (Official      14-26409-JNP
                                           Form 6F) (12/07)                     Doc 1         Filed 08/08/14 Entered 08/08/14 15:30:17                                                           Desc Main
                                                                                              Document Page 17 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                   Case No.
                                                                                         Debtor(s)                                                                                                              (If known)

                                                   SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                             or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                             the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                             guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                             listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                               If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                             schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                             on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                             is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                               Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                             Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                 Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                          HUSBAND, WIFE, JOINT,
                                                                                                             OR COMMUNITY




                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                   CONTINGENT
                                                                                               CODEBTOR




                                                                                                                                                                                                                               DISPUTED
                                           CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                       INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                  (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                             ACCOUNT NO. 2639                                                                H various dates
                             Berlin Medical Associates                                                         medical service charges
©1993-2013 EZ-Filing, Inc.




                             175 Cross Keys Rd Ste 300A
                             Berlin, NJ 08009-9263

                                                                                                                                                                                                                                             125.00
                             ACCOUNT NO.                                                                                          Assignee or other notification for:
                             Apex Asset Management, LLC                                                                           Berlin Medical Associates
                             1891 Santa Barbara Dr Ste 204
                             Lancaster, PA 17601-4106



                             ACCOUNT NO. 0867                                                               W various dates
                             David B. Watner, Esquire                                                         credit charges
                             1129 Bloomfield Ave Ste 208
                             West Caldwell, NJ 07006-7123

                                                                                                                                                                                                                                             292.00
                             ACCOUNT NO.                                                                                          Assignee or other notification for:
                             Remex, Inc.                                                                                          David B. Watner, Esquire
                             307 Wall St
                             Princeton, NJ 08540-1515


                                                                                                                                                                                                   Subtotal
                                  10 continuation sheets attached                                                                                                                      (Total of this page) $                                417.00
                                                                                                                                                                                                      Total
                                                                                                                                         (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                             the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                          Summary of Certain Liabilities and Related Data.) $
                                       Case
                             B6F (Official      14-26409-JNP
                                           Form 6F) (12/07) - Cont.          Doc 1          Filed 08/08/14 Entered 08/08/14 15:30:17                                                          Desc Main
                                                                                            Document Page 18 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                Case No.
                                                                                     Debtor(s)                                                                                                               (If known)

                                                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                          (Continuation Sheet)




                                                                                                       HUSBAND, WIFE, JOINT,
                                                                                                          OR COMMUNITY




                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                CONTINGENT
                                                                                            CODEBTOR




                                                                                                                                                                                                                            DISPUTED
                                          CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                      INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                 (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                             ACCOUNT NO. 2495                                                             H various dates
                             Delaware Valley Urology                                                        medical service charges
                             570 Egg Harbor Rd Ste A-1
                             Sewell, NJ 08080-2359

                                                                                                                                                                                                                                          171.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Apex Asset Management, LLC                                                                        Delaware Valley Urology
                             1891 Santa Barbara Dr Ste 204
                             Lancaster, PA 17601-4106



                             ACCOUNT NO. 2148                                                            W various dates
                             Emerg Phy Assoc Of S.Jersey, PC                                               medical service charges
                             2620 Ridgewood Rd Ste 300
©1993-2013 EZ-Filing, Inc.




                             Akron, OH 44313-3500

                                                                                                                                                                                                                                          498.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             NCO Financial Systems, Inc.                                                                       Emerg Phy Assoc Of S.Jersey, PC
                             507 Prudential Rd
                             Horsham, PA 19044-2308



                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             B-Real, LLC                                                                                       Emerg Phy Assoc Of S.Jersey, PC
                             MS 550
                             PO Box 91121
                             Seattle, WA 98111-9221

                             ACCOUNT NO. 4279                                                            W various dates
                             Emerg Phy Assoc Of S.Jersey, PC                                               medical service charges
                             2620 Ridgewood Rd Ste 300
                             Akron, OH 44313-3500

                                                                                                                                                                                                                                          596.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Account Resolution Service                                                                        Emerg Phy Assoc Of S.Jersey, PC
                             1801 NW 66th Ave Ste 200
                             Plantation, FL 33313-4571


                             Sheet no.       1 of      10 continuation sheets attached to                                                                                                       Subtotal
                             Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                              1,265.00
                                                                                                                                                                                                   Total
                                                                                                                                      (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                          the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                       Summary of Certain Liabilities and Related Data.) $
                                       Case
                             B6F (Official      14-26409-JNP
                                           Form 6F) (12/07) - Cont.          Doc 1          Filed 08/08/14 Entered 08/08/14 15:30:17                                                          Desc Main
                                                                                            Document Page 19 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                Case No.
                                                                                     Debtor(s)                                                                                                               (If known)

                                                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                          (Continuation Sheet)




                                                                                                       HUSBAND, WIFE, JOINT,
                                                                                                          OR COMMUNITY




                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                CONTINGENT
                                                                                            CODEBTOR




                                                                                                                                                                                                                            DISPUTED
                                          CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                      INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                 (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                             ACCOUNT NO. 2645                                                             H various dates
                             Emerg Phy Assoc Of S.Jersey, PC                                                medical service charges
                             2620 Ridgewood Rd Ste 300
                             Akron, OH 44313-3500

                                                                                                                                                                                                                                          694.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             B-Real, LLC                                                                                       Emerg Phy Assoc Of S.Jersey, PC
                             MS 550
                             PO Box 91121
                             Seattle, WA 98111-9221

                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             NCO Financial Systems, Inc.                                                                       Emerg Phy Assoc Of S.Jersey, PC
                             507 Prudential Rd
©1993-2013 EZ-Filing, Inc.




                             Horsham, PA 19044-2308



                             ACCOUNT NO. 0258                                                             H various dates
                             Emerg Phy Assoc Of S.Jersey, PC                                                medical service charges
                             2620 Ridgewood Rd Ste 300
                             Akron, OH 44313-3500

                                                                                                                                                                                                                                           75.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             B-Real, LLC                                                                                       Emerg Phy Assoc Of S.Jersey, PC
                             MS 550
                             PO Box 91121
                             Seattle, WA 98111-9221

                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             NCO Financial Systems, Inc.                                                                       Emerg Phy Assoc Of S.Jersey, PC
                             507 Prudential Rd
                             Horsham, PA 19044-2308



                             ACCOUNT NO. 3602                                                             H various dates
                             Emerg Phy Assoc Of S.Jersey, PC                                                medical service charges
                             2620 Ridgewood Rd Ste 300
                             Akron, OH 44313-3500

                                                                                                                                                                                                                                          187.00
                             Sheet no.       2 of      10 continuation sheets attached to                                                                                                       Subtotal
                             Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                                956.00
                                                                                                                                                                                                   Total
                                                                                                                                      (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                          the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                       Summary of Certain Liabilities and Related Data.) $
                                       Case
                             B6F (Official      14-26409-JNP
                                           Form 6F) (12/07) - Cont.          Doc 1          Filed 08/08/14 Entered 08/08/14 15:30:17                                                          Desc Main
                                                                                            Document Page 20 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                Case No.
                                                                                     Debtor(s)                                                                                                               (If known)

                                                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                          (Continuation Sheet)




                                                                                                       HUSBAND, WIFE, JOINT,
                                                                                                          OR COMMUNITY




                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                CONTINGENT
                                                                                            CODEBTOR




                                                                                                                                                                                                                            DISPUTED
                                          CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                      INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                 (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             B-Real, LLC                                                                                       Emerg Phy Assoc Of S.Jersey, PC
                             MS 550
                             PO Box 91121
                             Seattle, WA 98111-9221

                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             NCO Financial Systems, Inc.                                                                       Emerg Phy Assoc Of S.Jersey, PC
                             507 Prudential Rd
                             Horsham, PA 19044-2308



                             ACCOUNT NO. 1831                                                             H various dates
                             Emerg Phy Assoc Of S.Jersey, PC                                                medical service charges
                             2620 Ridgewood Rd Ste 300
©1993-2013 EZ-Filing, Inc.




                             Akron, OH 44313-3500

                                                                                                                                                                                                                                          787.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             B-Real, LLC                                                                                       Emerg Phy Assoc Of S.Jersey, PC
                             MS 550
                             PO Box 91121
                             Seattle, WA 98111-9221

                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             NCO Financial Systems, Inc.                                                                       Emerg Phy Assoc Of S.Jersey, PC
                             507 Prudential Rd
                             Horsham, PA 19044-2308



                             ACCOUNT NO. 8394                                                            W various dates
                             Evesham Veterinary Clinic                                                     veterinary service charges
                             800 Route 73 S
                             Marlton, NJ 08053-9649

                                                                                                                                                                                                                                           98.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             I.C. System, Inc.                                                                                 Evesham Veterinary Clinic
                             PO Box 64437
                             Saint Paul, MN 55164-0437


                             Sheet no.       3 of      10 continuation sheets attached to                                                                                                       Subtotal
                             Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                                885.00
                                                                                                                                                                                                   Total
                                                                                                                                      (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                          the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                       Summary of Certain Liabilities and Related Data.) $
                                       Case
                             B6F (Official      14-26409-JNP
                                           Form 6F) (12/07) - Cont.          Doc 1          Filed 08/08/14 Entered 08/08/14 15:30:17                                                          Desc Main
                                                                                            Document Page 21 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                Case No.
                                                                                     Debtor(s)                                                                                                               (If known)

                                                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                          (Continuation Sheet)




                                                                                                       HUSBAND, WIFE, JOINT,
                                                                                                          OR COMMUNITY




                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                CONTINGENT
                                                                                            CODEBTOR




                                                                                                                                                                                                                            DISPUTED
                                          CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                      INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                 (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                             ACCOUNT NO. 1439                                                            W various dates
                             Heck And Schiavone, DO                                                        medical service charges
                             222 Gibbsboro Rd
                             Clementon, NJ 08021-4132

                                                                                                                                                                                                                                           55.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Apex Asset Management, LLC                                                                        Heck And Schiavone, DO
                             1891 Santa Barbara Dr Ste 204
                             Lancaster, PA 17601-4106



                             ACCOUNT NO.                                                                    J various dates                                                                                                 X
                             Internal Revenue Service                                                         income taxes
                             PO Box 7346
©1993-2013 EZ-Filing, Inc.




                             Philadelphia, PA 19101-7346

                                                                                                                                                                                                                                       unknown
                             ACCOUNT NO. 0405                                                            W June, 2005
                             Kennedy Health System                                                         Judgment
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                        1,277.00
                             ACCOUNT NO. 9945                                                            W various dates
                             Kennedy Health System                                                         medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                          100.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
                             Mount Laurel, NJ 08054-7388



                             ACCOUNT NO. 8384                                                            W various dates
                             Kennedy Health System                                                         medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                           98.00
                             Sheet no.       4 of      10 continuation sheets attached to                                                                                                       Subtotal
                             Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                              1,530.00
                                                                                                                                                                                                   Total
                                                                                                                                      (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                          the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                       Summary of Certain Liabilities and Related Data.) $
                                       Case
                             B6F (Official      14-26409-JNP
                                           Form 6F) (12/07) - Cont.          Doc 1          Filed 08/08/14 Entered 08/08/14 15:30:17                                                          Desc Main
                                                                                            Document Page 22 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                Case No.
                                                                                     Debtor(s)                                                                                                               (If known)

                                                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                          (Continuation Sheet)




                                                                                                       HUSBAND, WIFE, JOINT,
                                                                                                          OR COMMUNITY




                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                CONTINGENT
                                                                                            CODEBTOR




                                                                                                                                                                                                                            DISPUTED
                                          CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                      INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                 (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
                             Mount Laurel, NJ 08054-7388



                             ACCOUNT NO. 0612                                                             H various dates
                             Kennedy Health System                                                          medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                        1,107.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
©1993-2013 EZ-Filing, Inc.




                             Mount Laurel, NJ 08054-7388



                             ACCOUNT NO. 0613                                                             H various dates
                             Kennedy Health System                                                          medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                          691.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
                             Mount Laurel, NJ 08054-7388



                             ACCOUNT NO. 2988                                                             H various dates
                             Kennedy Health System                                                          medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                          100.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
                             Mount Laurel, NJ 08054-7388


                             Sheet no.       5 of      10 continuation sheets attached to                                                                                                       Subtotal
                             Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                              1,898.00
                                                                                                                                                                                                   Total
                                                                                                                                      (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                          the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                       Summary of Certain Liabilities and Related Data.) $
                                       Case
                             B6F (Official      14-26409-JNP
                                           Form 6F) (12/07) - Cont.          Doc 1          Filed 08/08/14 Entered 08/08/14 15:30:17                                                          Desc Main
                                                                                            Document Page 23 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                Case No.
                                                                                     Debtor(s)                                                                                                               (If known)

                                                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                          (Continuation Sheet)




                                                                                                       HUSBAND, WIFE, JOINT,
                                                                                                          OR COMMUNITY




                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                CONTINGENT
                                                                                            CODEBTOR




                                                                                                                                                                                                                            DISPUTED
                                          CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                      INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                 (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                             ACCOUNT NO. 7445                                                             H various dates
                             Kennedy Health System                                                          medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                          100.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
                             Mount Laurel, NJ 08054-7388



                             ACCOUNT NO. 7944                                                             H various dates
                             Kennedy Health System                                                          medical service charges
                             PO Box 48023
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                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                          179.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
                             Mount Laurel, NJ 08054-7388



                             ACCOUNT NO. 7945                                                             H various dates
                             Kennedy Health System                                                          medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                          100.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
                             Mount Laurel, NJ 08054-7388



                             ACCOUNT NO. 8565                                                             H various dates
                             Kennedy Health System                                                          medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                          100.00
                             Sheet no.       6 of      10 continuation sheets attached to                                                                                                       Subtotal
                             Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                                479.00
                                                                                                                                                                                                   Total
                                                                                                                                      (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                          the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                       Summary of Certain Liabilities and Related Data.) $
                                       Case
                             B6F (Official      14-26409-JNP
                                           Form 6F) (12/07) - Cont.          Doc 1          Filed 08/08/14 Entered 08/08/14 15:30:17                                                          Desc Main
                                                                                            Document Page 24 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                Case No.
                                                                                     Debtor(s)                                                                                                               (If known)

                                                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                          (Continuation Sheet)




                                                                                                       HUSBAND, WIFE, JOINT,
                                                                                                          OR COMMUNITY




                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                CONTINGENT
                                                                                            CODEBTOR




                                                                                                                                                                                                                            DISPUTED
                                          CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                      INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                 (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
                             Mount Laurel, NJ 08054-7388



                             ACCOUNT NO. 8219                                                             H various dates
                             Kennedy Health System                                                          medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                          100.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
©1993-2013 EZ-Filing, Inc.




                             Mount Laurel, NJ 08054-7388



                             ACCOUNT NO. 8040                                                             H various dates
                             Kennedy Health System                                                          medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                          179.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
                             Mount Laurel, NJ 08054-7388



                             ACCOUNT NO. 8029                                                             H various dates
                             Kennedy Health System                                                          medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                          100.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
                             Mount Laurel, NJ 08054-7388


                             Sheet no.       7 of      10 continuation sheets attached to                                                                                                       Subtotal
                             Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                                379.00
                                                                                                                                                                                                   Total
                                                                                                                                      (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                          the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                       Summary of Certain Liabilities and Related Data.) $
                                       Case
                             B6F (Official      14-26409-JNP
                                           Form 6F) (12/07) - Cont.          Doc 1          Filed 08/08/14 Entered 08/08/14 15:30:17                                                          Desc Main
                                                                                            Document Page 25 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                Case No.
                                                                                     Debtor(s)                                                                                                               (If known)

                                                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                          (Continuation Sheet)




                                                                                                       HUSBAND, WIFE, JOINT,
                                                                                                          OR COMMUNITY




                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                CONTINGENT
                                                                                            CODEBTOR




                                                                                                                                                                                                                            DISPUTED
                                          CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                      INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                 (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                             ACCOUNT NO. 7996                                                             H various dates
                             Kennedy Health System                                                          medical service charges
                             PO Box 48023
                             Newark, NJ 07101-4823

                                                                                                                                                                                                                                          100.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Financial Recoveries                                                                              Kennedy Health System
                             PO Box 1388
                             Mount Laurel, NJ 08054-7388



                             ACCOUNT NO. 7706                                                            W January, 2007
                             Lewis J. Lubrent                                                              Judgment
                             12 Almond Ave
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                             Stratford, NJ 08084-1511

                                                                                                                                                                                                                                        1,021.00
                             ACCOUNT NO. 4202                                                             H December, 2002
                             New Jersey Division Of Taxation                                                tax lien
                             Compliance & Enforcement - Bankruptcy Un
                             PO Box 245
                             Trenton, NJ 08695-0245
                                                                                                                                                                                                                                        1,203.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Mercer County Clerk                                                                               New Jersey Division Of Taxation
                             209 S Broad St Rm 100
                             Trenton, NJ 08608-2403



                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             New Jersey Attorney General Office                                                                New Jersey Division Of Taxation
                             Division Of Law
                             PO Box 112
                             Trenton, NJ 08625-0112

                             ACCOUNT NO. 2820                                                               J various dates
                             Quality Asset Recovery                                                           medical service charges
                             7 Foster Ave Ste 101
                             Gibbsboro, NJ 08026-1191

                                                                                                                                                                                                                                          487.00
                             Sheet no.       8 of      10 continuation sheets attached to                                                                                                       Subtotal
                             Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                              2,811.00
                                                                                                                                                                                                   Total
                                                                                                                                      (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                          the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                       Summary of Certain Liabilities and Related Data.) $
                                       Case
                             B6F (Official      14-26409-JNP
                                           Form 6F) (12/07) - Cont.          Doc 1          Filed 08/08/14 Entered 08/08/14 15:30:17                                                          Desc Main
                                                                                            Document Page 26 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                Case No.
                                                                                     Debtor(s)                                                                                                               (If known)

                                                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                          (Continuation Sheet)




                                                                                                       HUSBAND, WIFE, JOINT,
                                                                                                          OR COMMUNITY




                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                CONTINGENT
                                                                                            CODEBTOR




                                                                                                                                                                                                                            DISPUTED
                                          CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                      INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                 (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                             ACCOUNT NO. 1108                                                            W November, 2008
                             South Jersey Radiology Associates                                             Judgment
                             PO Box 23355
                             Newark, NJ 07189-0355

                                                                                                                                                                                                                                        1,136.00
                             ACCOUNT NO. 0966                                                            W various dates
                             South Jersey Radiology Associates                                             medical service charges
                             PO Box 23355
                             Newark, NJ 07189-0355

                                                                                                                                                                                                                                          262.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Remex, Inc.                                                                                       South Jersey Radiology Associates
                             307 Wall St
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                             Princeton, NJ 08540-1515



                             ACCOUNT NO. 0941                                                            W various dates
                             Sprint Nextel                                                                 telephone service charges
                             ATTN: Bankruptcy Department
                             PO Box 7949
                             Overland Park, KS 66207-0949
                                                                                                                                                                                                                                          162.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Afni                                                                                              Sprint Nextel
                             PO Box 3427
                             Bloomington, IL 61702-3427



                             ACCOUNT NO. 7087                                                            W various dates
                             Staffordshire Dental Group                                                    dental service charges
                             1307 White Horse Rd
                             Voorhees, NJ 08043-2176

                                                                                                                                                                                                                                           61.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Apex Asset Management                                                                             Staffordshire Dental Group
                             PO Box 7044
                             Lancaster, PA 17604-7044


                             Sheet no.       9 of      10 continuation sheets attached to                                                                                                       Subtotal
                             Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                              1,621.00
                                                                                                                                                                                                   Total
                                                                                                                                      (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                          the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                       Summary of Certain Liabilities and Related Data.) $
                                       Case
                             B6F (Official      14-26409-JNP
                                           Form 6F) (12/07) - Cont.          Doc 1          Filed 08/08/14 Entered 08/08/14 15:30:17                                                          Desc Main
                                                                                            Document Page 27 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                Case No.
                                                                                     Debtor(s)                                                                                                               (If known)

                                                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                          (Continuation Sheet)




                                                                                                       HUSBAND, WIFE, JOINT,
                                                                                                          OR COMMUNITY




                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                CONTINGENT
                                                                                            CODEBTOR




                                                                                                                                                                                                                            DISPUTED
                                          CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                      INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                 (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                             ACCOUNT NO.                                                                 W August, 2010
                             U.S. Department Of Education                                                  student loan
                             Direct Loan Servicing Center
                             PO Box 5609
                             Greenville, TX 75403-5609
                                                                                                                                                                                                                                        9,093.00
                             ACCOUNT NO. 4487                                                             H various dates
                             UMDNJ-SOM                                                                      medical service charges
                             Faculty Practice Plan
                             PO Box 635
                             Bellmawr, NJ 08099-0635
                                                                                                                                                                                                                                           22.00
                             ACCOUNT NO.                                                                                       Assignee or other notification for:
                             Apex Asset Management, LLC                                                                        UMDNJ-SOM
                             1891 Santa Barbara Dr Ste 204
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                             Lancaster, PA 17601-4106



                             ACCOUNT NO. 4984                                                            W various dates
                             Verizon New Jersey Inc.                                                       telephone service charges
                             PO Box 165018
                             Columbus, OH 43216

                                                                                                                                                                                                                                          142.00
                             ACCOUNT NO. 4989                                                            W various dates
                             Verizon New Jersey Inc.                                                       telephone service charges
                             PO Box 165018
                             Columbus, OH 43216

                                                                                                                                                                                                                                          158.00
                             ACCOUNT NO.




                             ACCOUNT NO.




                             Sheet no.     10 of       10 continuation sheets attached to                                                                                                       Subtotal
                             Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                              9,415.00
                                                                                                                                                                                                   Total
                                                                                                                                      (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                          the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                       Summary of Certain Liabilities and Related Data.) $                             21,656.00
                                       Case
                             B6G (Official Form 14-26409-JNP
                                                6G) (12/07)                      Doc 1        Filed 08/08/14 Entered 08/08/14 15:30:17                                          Desc Main
                                                                                              Document Page 28 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                Case No.
                                                                                         Debtor(s)                                                                                  (If known)

                                                          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                             contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                             lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                             such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                 Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                             DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                 STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                   OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                   STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                       Case
                             B6H (Official Form 14-26409-JNP
                                                6H) (12/07)                      Doc 1         Filed 08/08/14 Entered 08/08/14 15:30:17                                           Desc Main
                                                                                               Document Page 29 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                                 Case No.
                                                                                          Debtor(s)                                                                                   (If known)

                                                                                             SCHEDULE H - CODEBTORS
                                Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                             of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                             California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                             of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                             territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                             a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                             name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                 Check this box if debtor has no codebtors.

                                                        NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                       Case
                             B6 Declaration     14-26409-JNP
                                            (Official Form 6 - Declaration) Doc
                                                                            (12/07)1        Filed 08/08/14 Entered 08/08/14 15:30:17                                           Desc Main
                                                                                            Document Page 30 of 36
                             IN RE Tucci, Mark R. & Tucci, Mary Anne P.                                                                          Case No.
                                                                                       Debtor(s)                                                                                    (If known)

                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                              DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                             I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      27 sheets, and that they are
                             true and correct to the best of my knowledge, information, and belief.


                             Date: August 7, 2014                                 Signature: /s/ Mark R. Tucci
                                                                                                                                                                                                               Debtor
                                                                                               Mark R. Tucci

                             Date: August 7, 2014                                 Signature: /s/ Mary Anne P. Tucci
                                                                                                                                                                                                 (Joint Debtor, if any)
                                                                                               Mary Anne P. Tucci
                                                                                                                                                       [If joint case, both spouses must sign.]

                                           DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                             compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                             and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                             bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                             any fee from the debtor, as required by that section.

                             Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                             If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                             responsible person, or partner who signs the document.
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                             Address




                             Signature of Bankruptcy Petition Preparer                                                                          Date

                             Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                             is not an individual:


                             If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                             A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                             DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                             I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                             member or an authorized agent of the partnership) of the
                             (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                             schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                             knowledge, information, and belief.



                             Date:                                                Signature:


                                                                                                                                                         (Print or type name of individual signing on behalf of debtor)

                                           [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                      Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                      Case 14-26409-JNP           Doc 1         Filed 08/08/14 Entered 08/08/14 15:30:17               Desc Main
                                                                                Document Page 31 of 36
                                                                           United States Bankruptcy Court
                                                                                District of New Jersey

                             IN RE:                                                                                  Case No.
                             Tucci, Mark R. & Tucci, Mary Anne P.                                                    Chapter 13
                                                                    Debtor(s)

                                                                    VERIFICATION OF CREDITOR MATRIX
                             The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                             Date: August 7, 2014                   Signature: /s/ Mark R. Tucci
                                                                                  Mark R. Tucci                                                          Debtor



                             Date: August 7, 2014                   Signature: /s/ Mary Anne P. Tucci
                                                                                  Mary Anne P. Tucci                                         Joint Debtor, if any
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Case 14-26409-JNP   Doc 1   Filed 08/08/14 Entered 08/08/14 15:30:17   Desc Main
                            Document Page 32 of 36




              Account Resolution Service
              1801 NW 66th Ave Ste 200
              Plantation, FL 33313-4571


              Afni
              PO Box 3427
              Bloomington, IL       61702-3427


              Apex Asset Management
              PO Box 7044
              Lancaster, PA 17604-7044


              Apex Asset Management, LLC
              1891 Santa Barbara Dr Ste 204
              Lancaster, PA 17601-4106


              B-Real, LLC
              MS 550
              PO Box 91121
              Seattle, WA 98111-9221


              Berlin Medical Associates
              175 Cross Keys Rd Ste 300A
              Berlin, NJ 08009-9263


              Borough Of Laurel Springs
              Tax Department
              135 Broadway
              Laurel Springs, NJ 08021-2006


              David B. Watner, Esquire
              1129 Bloomfield Ave Ste 208
              West Caldwell, NJ 07006-7123
Case 14-26409-JNP   Doc 1   Filed 08/08/14 Entered 08/08/14 15:30:17   Desc Main
                            Document Page 33 of 36




              Delaware Valley Urology
              570 Egg Harbor Rd Ste A-1
              Sewell, NJ 08080-2359


              Emerg Phy Assoc Of S.Jersey, PC
              2620 Ridgewood Rd Ste 300
              Akron, OH 44313-3500


              Evesham Veterinary Clinic
              800 Route 73 S
              Marlton, NJ 08053-9649


              Financial Recoveries
              PO Box 1388
              Mount Laurel, NJ 08054-7388


              Heck And Schiavone, DO
              222 Gibbsboro Rd
              Clementon, NJ 08021-4132


              I.C. System, Inc.
              PO Box 64437
              Saint Paul, MN 55164-0437


              Internal Revenue Service
              PO Box 7346
              Philadelphia, PA 19101-7346


              Kennedy Health System
              PO Box 48023
              Newark, NJ 07101-4823


              Lewis J. Lubrent
              12 Almond Ave
              Stratford, NJ 08084-1511
Case 14-26409-JNP   Doc 1   Filed 08/08/14 Entered 08/08/14 15:30:17   Desc Main
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              Mercer County Clerk
              209 S Broad St Rm 100
              Trenton, NJ 08608-2403


              NCO Financial Systems, Inc.
              507 Prudential Rd
              Horsham, PA 19044-2308


              New Jersey Attorney General Office
              Division Of Law
              PO Box 112
              Trenton, NJ 08625-0112


              New Jersey Division Of Taxation
              Compliance & Enforcement - Bankruptcy Un
              PO Box 245
              Trenton, NJ 08695-0245


              Quality Asset Recovery
              7 Foster Ave Ste 101
              Gibbsboro, NJ 08026-1191


              Remex, Inc.
              307 Wall St
              Princeton, NJ       08540-1515


              Select Portfolio Servicing
              PO Box 65450
              Salt Lake City, UT 84165-0450


              South Jersey Radiology Associates
              PO Box 23355
              Newark, NJ 07189-0355
Case 14-26409-JNP   Doc 1   Filed 08/08/14 Entered 08/08/14 15:30:17   Desc Main
                            Document Page 35 of 36




              Sprint Nextel
              ATTN: Bankruptcy Department
              PO Box 7949
              Overland Park, KS 66207-0949


              Staffordshire Dental Group
              1307 White Horse Rd
              Voorhees, NJ 08043-2176


              U.S. Department Of Education
              Direct Loan Servicing Center
              PO Box 5609
              Greenville, TX 75403-5609


              UMDNJ-SOM
              Faculty Practice Plan
              PO Box 635
              Bellmawr, NJ 08099-0635


              US Bank Cust For Crestar Capital
              C/O Pellegrino & Feldstein, LLC
              290 Route 46
              Denville, NJ 07834-1239


              Verizon New Jersey Inc.
              PO Box 165018
              Columbus, OH 43216


              Zucker, Goldberg & Ackerman, LLC
              PO Box 1024
              Mountainside, NJ 07092-0024
                                             Case 14-26409-JNP                                        Doc 1             Filed 08/08/14 Entered 08/08/14 15:30:17                                                                            Desc Main
                                                                                                                        Document Page 36 of 36
                                                                                                                     United States Bankruptcy Court
                                                                                                                          District of New Jersey

                             IN RE:                                                                                                                                                                     Case No.
                             Tucci, Mark R. & Tucci, Mary Anne P.                                                                                                                                       Chapter 13
                                                                                                          Debtor(s)

                                                                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                             1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                    one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                    of or in connection with the bankruptcy case is as follows:

                                    For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               3,390.00

                                    Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                     40.00

                                    Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $   3,350.00

                             2.     The source of the compensation paid to me was:                                 Debtor             Other (specify):

                             3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

                             4.            I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                                           I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                           together with a list of the names of the people sharing in the compensation, is attached.

                             5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                    a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                    b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                    c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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                                    d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                    e.     [Other provisions as needed]




                             6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                                                                            CERTIFICATION
                                  I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                  proceeding.


                                                           August 7, 2014                                                   /s/ Rex J. Roldan, Esquire
                                                                       Date                                                 Rex J. Roldan, Esquire (RR7961)
                                                                                                                            Law Offices of Rex J. Roldan, P.C.
                                                                                                                            900 Route 168, Suite I-4
                                                                                                                            Turnersville, NJ 08012
                                                                                                                            (856) 232-1425 Fax: (856) 232-1025
                                                                                                                            roldanlaw@comcast.net
